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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION

ALAN EUGENE MILLER,                       )
                                          )
             Plaintiff,                   )
                                          )
        v.                                )       CASE NO. 2:22-cv-506-RAH
                                          )
JOHN Q. HAMM, Commissioner,               )
Alabama Department of Corrections,        )
et al.,                                   )
                                          )
             Defendants.                  )

                                     ORDER

        For the reasons stated at the November 9, 2022 hearing, and for good cause,

it is

        ORDERED that the Defendants shall submit to the Court in camera an

unredacted version of the ADOC’s current lethal injection execution protocol on or

before November 10, 2022. The Defendants shall submit the document to the

undersigned’s chambers at propord_huffaker@almd.uscourts.gov. It is further

        ORDERED that the parties shall participate in their Rule 26(f) planning

meeting on or before November 10, 2022.

        DONE, on this the 10th day of November, 2022.


                                       /s/ R. Austin Huffaker, Jr.
                                R. AUSTIN HUFFAKER, JR.
                                UNITED STATES DISTRICT JUDGE
